Case 6:14-CV-OO423-GKS-TBS Document 30 Filed 11/03/14 Page 1 of 1 Page|D 106

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORlDA
ORLANDO DlVISION
NlCHOLE DECELLES,
Plaintiff,
v. Case No: 6:14-cv-423-Orl-18TBS
WHETSTONE PARTNERS, LLC,

Defendant.

 

ORDER

On October 24, 2014 the parties filed a joint stipulation for dismissal (Doc. No. 29).
Accordingly, pursuant to Fed.R.Civ.P. 4l(a), it is

ORDERED that this cause is DlSMlSSED with prejudice. Each party to bear their own

attorney"s fees and costs.

/1/00€,¢¢,5” ‘/

DONE AND ORDERED at Orlando, Florida, this day of`€ctobcr, 201 .

l/-\__n
G. KENDALL SHARP
SEN[OR UNITED STATES DlSTRICT JUDGE

 

 

Copies to:

Counsel of Record

